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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

Kforce, Inc.,

                Plaintiff,

       v.                                          Civil Action No. 1:18-cv-00451 (CMH/JFA)

ThomasRiley Strategies, LLC,

                Defendant.


                  MOTION FOR AN EXTENSION OF TIME TO ANSWER

       Defendant ThomasRiley Strategies, LLC (“TRS”), by and through its undersigned

attorney, submits this motion for a thirty-day extension of time until June 14, 2018 to respond to

the Complaint in this matter. In support of this motion, TRS states as follows:

       1.       Plaintiff filed the Complaint on April 18, 2018.

       2.       TRS was served with the Complaint on or about April 20, 2018 and is currently

required to answer or otherwise respond on or before May 14, 2018.

       3.       There is good cause for granting a thirty-day extension of time to answer or

otherwise respond to the Complaint until June 14, 2018 because:

            a. TRS is diligently investigating the facts and law asserted in the Complaint;

            b. The parties are actively engaged in negotiations to settle the matter;

            c. Such an extension will afford the parties additional time needed to negotiate and

                finalize the terms of settlement and execute thereupon;

            d. Such an extension would not prejudice Plaintiff because no scheduling order has

                been entered; and

            e. Such an extension would be the first granted in this case.
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       4.     Counsel for Plaintiff has not indicated whether Plaintiff opposes an extension.

       5.     A proposed Order granting this motion has been filed herewith.

       WHEREFORE, TRS prays that this Court order that the time for Defendant to answer or

otherwise respond to the Complaint be continued up to and including June 14, 2018.



Date: May 11, 2018                                 Respectfully submitted,

                                                   THOMASRILEY STRATEGIES, LLC

                                                   /s/ Adam L. Shaw

                                                   By: Adam L. Shaw, Esq.
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                                                   Counsel for Defendant
                                                         ThomasRiley Strategies, LLC




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 11th day of May, 2018, I electronically filed the foregoing
with the Clerk of Court using the CM/ECF system, which will then send a notification of such
filing (NEF) to the following:

       Mark H. Churchhill
       Holland & Knight LLP
       mark.churchill@hklaw.com
       1650 Tyson Boulevard, Suite 1700
       Tysons, VA 22102


                                                      /s/ Adam L. Shaw
                                                      Adam L. Shaw
